Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 1 of 13 PagelD 1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

United States of America )
Vv. )

) Case No.

MAURICIO CHAHINE 3:24-mj- 1523-LLL
)
_ )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 16 - September 4, 2024 in the county of Duval in the
Middle District of Florida . the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1956(a)(3) Money laundering

This criminal complaint is based on these facts:

See Affidavit.

M Continued on the attached sheet. ae

Complainant's signature

Christopher Pekerol, Special Agent, IRS-Cl

Printed name and title

Sworn to before me and signed in my presence.

Date: I-i%@-L4 PAN

‘
VY Judge 's signature

City and state: Jacksonville, Florida Samuel J. Horovitz, United States Magistrate Judge

Printed name and title
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 2 of 13 PagelD 2

AFFIDAVIT

I, Christopher Pekerol, being first duly sworn, hereby depose and state as
follows:

INTRODUCTION AND AGENT BACKGROUND

1. I submit this affidavit in support of a criminal complaint charging
Mauricio Chahine (“CHAHINE”) with violating 18 U.S.C. § 1956(a)(3) (money
laundering).

2. I am a Special Agent with the Internal Revenue Service-Criminal
Investigation Division (“IRS-CI”) and have been so employed since February 2011. I
am currently assigned to a North Florida High Intensity Drug Trafficking Area task
force that investigates large-scale drug trafficking and money laundering
organizations. I possess a Bachelor of Science in finance and a Master of Business
Administration in finance from Florida State University. I am a graduate of the
Criminal Investigator Training Program at the Federal Law Enforcement Training
Center in Glynco, Georgia, and the IRS Special Agent Investigative Techniques
Program at the National Criminal Investigation Training Academy. In these two
programs, I studied a variety of law enforcement, criminal investigation, and financial
crime issues, including: search and seizure, violations of federal law, and IRS
procedures and policies in criminal investigations. During the course of my career, I
have participated in numerous investigations of large-scale drug trafficking and money
laundering organizations, during which I traced illicit funds, conducted physical

surveillance, executed search and seizure warrants, and debriefed confidential sources
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 3 of 13 PagelD 3

and cooperating defendants. Through these investigations, training, experience, and
conversations with other agents and law enforcement officers, I have become familiar
with the methods drug traffickers and money launderers use to execute their schemes
and launder illicit proceeds.

3. Based on my training and experience, I know that under 18 U.S.C. §
1956(a)(3), it is unlawful to conduct or attempt to conduct a financial transaction
involving property represented to be the proceeds of certain specified unlawful
activities, including drug trafficking, with the intent to conceal or disguise the nature,
location, source, ownership, or control of property believed to be the proceeds of a
specified unlawful activity; or to avoid a transaction reporting requirement under state
or federal law. Based on the facts set forth below, there is probable cause to believe
that CHAHINE has violated 18 U.S.C. § 1956(a)(3).

4, The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
This affidavit is intended to show merely that there is sufficient probable cause to
charge CHAHINE and does not set forth all of my knowledge about this matter.

PROBABLE CAUSE
5. IRS-CI and DEA are currently investigating a large-scale money

laundering organization operating in Jacksonville, Florida, and elsewhere. During the
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 4 of 13 PagelD 4

investigation, DEA learned from a confidential source! (“CS-1”) that CHAHINE is a
U.S.-based money launderer with the ability to launder funds from the United States
to other countries. CS-1 provided 313-802-8080 as the phone number used by
CHAHINE. Records obtained from T-Mobile show 313-802-8080 is subscribed to
CHAHINE.

6. On March 5, 2024, a DEA Special Agent acting in an undercover
capacity (“UCA-1”) contacted CHAHINE at 313-802-8080. UCA-1 told CHAHINE
that CS-1 referred him/her and that UCA-1 works with South American people.
UCA-1 told CHAHINE that he/she would like to talk face-to-face and CHAHINE
agreed. On March 17, 2024, and March 19, 2024, UCA-1 contacted CHAHINE at
313-802-8080 to finalize the meeting, which was set for March 28, 2024, in
Jacksonville, Florida. These contacts with CHAHINE were documented by UCA-1
in a report, which I have reviewed.

7. On March 28, 2024, UCA-1 and a DEA Task Force Officer acting in an
undercover capacity (“UCA-2”) met with CHAHINE at a restaurant located in
Jacksonville, Florida, to discuss future money laundering transactions with
CHAHINE. DEA agents and I established surveillance in the area of the restaurant

and observed CHAHINE arrive at the meeting location driving a black Ford F-150

1 As utilized herein, CS-1 is a paid DEA confidential source. CS-1 has no known
criminal history and I have not discovered information that CS-1 has provided to be
false or misleading. As detailed below, there has been independent corroboration of
what CS-1 conveyed to law enforcement.
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 5 of 13 PagelD 5

truck. The surveillance team identified CHAHINE by comparing his appearance to
his driver’s license photograph. The meeting was recorded by the UCAs. I have
reviewed that recording. UCA-1 and UCA-2 introduced themselves and told
CHAHINE, in substance, that they needed some help moving money around.
CHAHINE said he needed to know how much money, where it was going, and how
fast they needed it at the destination.

8. In substance, CHAHINE told the UCAs that he could collect bulk
currency in the United States and payout the funds in various other countries. During
the meeting, UCA-2 asked CHAHINE if he had an idea of what UCA-2 did.
CHAHINE replied that he did not care what UCA-2 did. UCA-2 then told
CHAHINE that he sells some of the white stuff, referring to cocaine. CHAHINE
responded that he did not want to know. UCA-2 said that they will just call it “Coca-
Cola.” UCA-2 went on to explain that due to his work, he has large amounts of bulk
currency in different places. CHAHINE reiterated that all he needed to know was
where the money was going and how they wanted it, “big bills or small bills.”
CHAHINE said his fee was 12% for amounts over $200,000 and 15% for amounts
under $200,000. CHAHINE suggested during the meeting that they may need to
create invoices to make it appear as though they were buying or selling merchandise.

9. During the meeting, CHAHINE explained how he had multiple
businesses and offered to move money through his bank accounts. CHAHINE
mentioned during the meeting that he would not deposit currency he received from

the UCAs all at once; instead, he would split it up and deposit the money in increments

4
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 6 of 13 PagelD 6

of $5,000, $6,000, or $7,000. Based on CHAHINE’s statements, it appeared that he
intended to structure cash deposits to evade the reporting requirements of 31 U.S.C. §
5313.2

10. On May 8, 2024, UCA-1 contacted CHAHINE and advised that
someone would be contacting him on behalf of UCA-I and UCA-2. UCA-1 told
CHAHINE that this person worked for them (referring to UCA-1 and UCA-2).
Thereafter, an IRS-CI special agent acting in an undercover capacity (“UCA-3”) called
CHAHINE and arranged for an in-person meeting.

11. On May 16, 2024, UCA-3 and CHAHINE met at a restaurant located in

Jacksonville, Florida. DEA and IRS-CI agents, including myself, established

? Section 5313 and 31 C.F.R. Chapter X of the Bank Secrecy Act (BSA) require any
financial institution that engages with a customer in a currency transaction (i.e., a
deposit or withdrawal) in excess of $10,000 to report the transaction to the IRS on
Form 4789, Currency Transaction Report (CTR). These regulations also require that
multiple transactions be treated as a single transaction if the financial institution has
knowledge that they are by, or on behalf of, the same person, and they result in
currency either received or disbursed by the financial institution totaling more than
$10,000 during any one business day. CTRs are often used by law enforcement to
uncover a wide variety of illegal activities including money laundering. Many
individuals involved in these illegal activities are aware of such reporting requirements
and take active steps to attempt to cause financial institutions to fail to file CTRs.
These active steps are often referred to as “structuring” and involve making multiple
cash deposits, in amounts no greater than $10,000, to multiple banks, branches of the
same bank and/or different accounts on the same day or consecutive days. Structuring
is prohibited by 31 U.S.C. § 5324(a)(3).
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 7 of 13 PagelD 7

surveillance in the area of the restaurant and observed CHAHINE arrive. The meeting
was recorded by UCA-3, and I have reviewed that recording.

12. UCA-3 introduced himself/herself and explained to CHAHINE that
he/she works with UCA-2 and deals with money for the organization. UCA-3
inquired about laundering money domestically. CHAHINE, in substance, said he had
three businesses, Arby’s Seafood and Chicken, SUNY Enterprise, and Albarakah
Supermarket, and discussed using the businesses to launder money. CHAHINE said
he could accept bulk currency and return the funds to UCA-3 by check or wire transfer
from his business bank accounts. CHAHINE said that he may need invoices from
UCA-3 to justify the payments from his businesses to UCA-3. CHAHINE agreed to
launder money domestically for UCA-3 in exchange for a 12% fee and return the funds
via wire transfer. After negotiating the fee, UCA-3 told CHAHINE that UCA-2 does
not mind losing any kilos of cocaine, but if he loses the money from it, “we got
problems.” CHAHINE acknowledged and said if I cannot do it, lam going to tell you
slow down. Later in the conversation, UCA-3 again mentioned that his money came
from cocaine trafficking, by stating the money comes from the white and CHAHINE
responded, I know, I know.

13. Atthe end of the meeting, UCA-3 provided CHAHINE a bag containing
$50,000 of U.S. currency to be laundered to an undercover IRS-CI bank account.
DEA and IRS-CI agents observed CHAHINE leave the meeting location with the
currency. CHAHINE then travelled to his residence located at 4448 Edenfield Lane,

Jacksonville, Florida. I reviewed Duval County property records, which show
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 8 of 13 PagelD 8

CHAHINE currently owns the property located at 4448 Edenfield Lane, Jacksonville,
Florida. I also reviewed JEA utility records, which showed that CHAHINE is a JEA
customer with service at 4448 Edenfield Lane, Jacksonville, Florida.

14. I reviewed a DEA report of the undercover meeting and the surveillance
team’s observations. DEA followed CHAHINE when he departed the meeting
location. As CHAHINE travelled on I-95, his speed varied from driving under the
speed limit to over the speed limit. CHAHINE also changed lanes several times even
though he passed few vehicles. At one point, CHAHINE was in the middle lane and
then suddenly cut across two lanes to exit I-95. CHAHINE then travelled through
seemingly random neighborhoods. DEA observed CHAHINE momentarily park in
a driveway and then go back the way he originally came from. Based on my
knowledge and experience, these driving tactics are commonly used by people
involved in criminal activity as a means of conducting counter surveillance. After
CHAHINE arrived at his residence, DEA terminated its surveillance to avoid
detection.

15. Ihave reviewed the bank records for the undercover IRS-C] bank account
and learned that over the following week, CHAHINE returned the funds, less his fee,
via a series of wire transfers to the IRS-CI bank account.

16. Based on a review of the transactions, it appears that CHAHINE
laundered the currency through multiple business bank accounts, in amounts under

$10,000, just as he told the UCAs he would.
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 9 of 13 PagelD 9

17. The following is a summary of those transactions:

Date Amount Sender Account Name Sender Bank
5/20/2024 $9,800.00 _ Petrolead Technologies Inc of Jacksonville Wells Fargo Bank
5/20/2024 $89, 900.00 Petrolead Technologies: Inc of Jacksonville JP Morgan Chase Bank |
5/20/2024 $7,058.00 _ SUNY Enterprise Inc. Fifth Third Bank
5/20/2024 $8,900.00 — Arbys Seafood and Chicken inc. ___ Vystar ¢ Credit Union
5/21/2024 $2, 700. 00 Arbys Seafood and Chicken Inc Fifth Third Bank
5/21/2024 $3,800. 00 Albarakah International Grocery Inc. VystarCredit Union
5/24/2024 $1,842.00 _ _ SUNY Enterprise Inc. Fifth Third Bank

Total $44,000.00

18. I reviewed Florida Department of Corporations records, which show
CHAHINE is the sole officer of his three businesses: Arbys Seafood and Chicken Inc.,
Albarakah International Grocery Inc., and SUNY Enterprises Inc.

19. Onor about June 7, 2024, UCA-3 and an IRS-CI task force officer acting
in an undercover capacity (“UCA-4”) met with CHAHINE at a restaurant located in
Jacksonville, Florida. Prior to the meeting, DEA and IRS-CI agents, including myself,
established surveillance in the area of the restaurant. The meeting was recorded by the
UCAs, and I have reviewed that recording. I reviewed a DEA report of the undercover
meeting and the surveillance team’s observations.

20. During the meeting, CHAHINE, in substance, said he has been in the
money laundering business for a long time and works with people in Colombia,
Venezuela, and Panama. CHAHINE explained how he overvalues goods shipped
internationally as a way of justifying international transfers of funds. At the end of the
meeting, the UCAs delivered a bag containing $56,000 of U.S. currency to CHAHINE
to be laundered to an IRS-CI undercover bank account. DEA followed CHAHINE

when he departed the meeting location. CHAHINE again drove in a manner
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 10 of 13 PagelID 10

consistent with an individual conducting counter surveillance, similar to his activity
on May 16, 2024. The surveillance team followed CHAHINE to his residence and
then terminated surveillance.

21. Ihave reviewed the bank records for the undercover IRS-CI bank account
and learned the funds were returned by CHAHINE, less his fee, via a series of wire

transfers. The following is a summary of those transactions:

Date Amount Sender Account Name Sender Bank

6/10/2024 $9,965.00 — Petrolead Technologies Inc of Jacksonville JP Morgan Chase Bank

6/11/2024 $8,300.00 Arbys Seafood and Chicken Inc. Fifth Third Bank

6/11/2024 $9,960.00 — Petrolead Technologies Inc of Jacksonville Wells Fargo Bank

6/14/2024 $8,750.00 Albarakah International Grocery Inc. ====—s Vystar Credit Union _

6/18/2024 $13,000.00 Petrolead Technologies Inc of Jacksonville = © JP Morgan Chase Bank
Total _ $49,975.00

22. On June 28, 2024, UCA-4 briefly met with CHAHINE in a parking lot
in Jacksonville, Florida. The meeting was recorded by UCA-4, and I have reviewed
that recording and have spoken to UCA-4 about the meeting. DEA and IRS-Cl
agents, including myself, established surveillance in the area. CHAHINE arrived at
the meeting location and parked near UCA-4. UCA-4 then handed CHAHINE a bag
containing $55,975 of U.S. currency. CHAHINE loaded the currency into his vehicle
and departed the meeting location.

23. Ihave reviewed the bank records for the undercover IRS-CI bank account
and learned the funds were returned by CHAHINE, less his fee, via a series of wire

transfers. The following is a summary of those transactions:
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 11 of 13 PagelD 11

Date Amount Sender Account Name Sender Bank
7/1/2024 $10,000.00 Petrolead Technologies Inc of Jacksonville JP Morgan Chase Bank
7/2/2024 © $10,000.00 Petrolead Technologies Inc of Jacksonville Wells Fargo Bank
7/3/2024 = $7,550.00 Albarakah International Grocery Inc. Vystar Credit Union
7/8/2024 | $7,830.00 Arbys Seafood and Chicken Inc. Fifth Third Bank
7/8/2024 $8,155.00 Arbys Seafood and Chicken Inc. Vystar Credit Union

7/11/2024. $6,465.00 Arbys Seafood and Chicken Inc. Fifth Third Bank

Total $50,000.00

24. On July 8, 2024, CHAHINE contacted UCA-3 over WhatsApp.? I
reviewed the WhatsApp messages exchanged between UCA-3 and CHAHINE.
CHAHINE requested invoices from UCA-3 to show that UCA-3 purchased restaurant
equipment from Arbys Seafood and Chicken Inc. and Albarakah International
Grocery Inc. IRS-CI then created fictitious invoices as directed by CHAHINE, and
on July 12, 2024, UCA-3 sent the fictious invoices to CHAHINE via WhatsApp.

25. On July 15, 2024, UCA-3 communicated with CHAHINE via
WhatsApp to arrange for the delivery of currency to CHAHINE on July 17, 2024.
Thereafter, on July 17, 2024, UCA-4 briefly met with CHAHINE in a parking lot in
Jacksonville, Florida. Prior to the meeting, DEA and IRS-CI agents, including myself,
established surveillance in the area of the parking lot. The meeting was recorded by
UCA-4, and I have reviewed that recording. UCA-4 delivered $56,000 of U.S.
currency to CHAHINE. CHAHINE loaded the currency into his vehicle and then

departed. DEA followed CHAHINE and observed him drive to his residence, 4448

3 WhatsApp is an encrypted instant messaging and voice-over-IP service. It allows
users to send text, voice messages, video messages, make voice and video calls, and
share images, documents, user locations, and other content.

10
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 12 of 13 PagelD 12

Edenfield Lane, Jacksonville, Florida. Surveillance was terminated shortly after
CHAHINE arrived at his residence to avoid detection.

26. I reviewed the bank records for the undercover IRS-CI bank account,
which showed that on July 18, 2024, the account received two wire transfers. One
wire transfer was in the amount of $7,015 and was sent from a Vystar Credit Union
account held by Arby’s Seafood and Chicken Inc. The other wire transfer was in the
amount of $7,985 and was sent from a Fifth Third Bank account held by Arby’s
Seafood and Chicken Inc. Arby’s Seafood and Chicken Inc. is an entity CHAHINE
used to launder money during the previous transactions with UCA-3.

27. On September 4, 2024, CHAHINE contacted UCA-3 via WhatsApp. I
reviewed the WhatsApp messages exchanged between UCA-3 and CHAHINE and I
have talked to UCA-3 about the communications UCA-3 had with CHAHINE.
CHAHINE said, in substance, that the bank account containing the $35,000 he owes
UCA-3 was frozen and is under investigation by the bank. CHAHINE requested that
UCA-3 send him an invoice showing the purchase of solar panels by UCA-3 from
Petrolead Technologies Inc. of Jacksonville. IRS-CI then created a fictitious invoice
as directed by CHAHINE, and on September 5, 2024, UCA-3 sent the false invoice to
CHAHINE. I have reviewed the false invoice and the WhatsApp messages

concerning it.

11
Case 3:24-mj-01523-LLL Document1 Filed 11/12/24 Page 13 of 13 PagelD 13

CONCLUSION

28. Based on the foregoing, there is probable cause to believe that on and
between May 16 and September 4, 2024, CHAHINE engaged in money laundering in

the Middle District of Florida in violation of 18 U.S.C. § 1956(a)(3).

Respectfully submitted,

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Saat

Christopher Pekerol
Special Agent
Internal Revenue Service — Criminal Investigation

Subscribed and sworn to before me on November _12"_, 2024.

Au As
SAMUEL J. HOROVITZ
United States Magistrate Judge

12
